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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


 KEVIN CLARKE, TREVOR
 BOECKMANN, HARRY CRANE, CORWIN
 SMIDT, PREDICT IT, INC., ARISTOTLE
 INTERNATIONAL, INC., MICHAEL
 BEELER, MARK BORGHI, RICHARD
                                    Civil Docket No. 1:24-cv-00614-DAE
 HANANIA, JAMES MILLER, JOSIAH
 NEELEY, GRANT SCHNEIDER, and WES
                                    The Honorable David Alan Ezra
 SHEPHERD,

                    Plaintiffs,

        v.

 COMMODITY FUTURES TRADING
 COMMISSION,

                    Defendant.


PLAINTIFFS’ NOTICE REGARDING DEFENDANT’S MOTION FOR JUDGMENT ON
                          THE PLEADINGS

       The Plaintiffs respectfully submit the following in response to the Court’s August 13, 2024

Order requesting a notice and/or response (Dkt. 89).

       On June 18, 2024, this Court entered an order requesting scheduling recommendations

from the parties. Dkt. 81. On July 16, 2024, shortly before the scheduling recommendations were

due, Defendant Commodity Futures Trading Commission (“CFTC”) moved for judgment on the

pleadings.    Dkt. 82.     Four business days later, the parties submitted joint scheduling

recommendations. Dkt. 84. In the joint scheduling recommendations, the parties proposed

alternative deadlines for Plaintiffs’ response to the CFTC’s motion, contingent on whether the

Court grants Plaintiffs’ request for additional time to explore a negotiated resolution to this case.

Id. ¶ 3. When the CFTC sought to continue the hearing on the scheduling recommendations, it



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agreed that any response to the motion for judgment on the pleadings would be due no earlier than

10 days after the scheduling hearing. The hearing is set for tomorrow morning. Dkt. 88.

       Plaintiffs will oppose the CFTC’s motion for judgment on the pleadings. As outlined in

the parties’ joint scheduling recommendations, Plaintiffs recommend that the deadline for their

response to the motion be set at the end of the proposed settlement period, on October 1, 2024.

Dkt. 84 ¶ 3. Plaintiffs will ask the Court to set that deadline tomorrow. Plaintiffs are prepared to

file their opposition within the 10 days specified in Dkt. 89, or on any other date set pursuant to

tomorrow’s scheduling hearing.

                                              Respectfully submitted,

                                              /s/ Michael J. Edney

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                                              and Wes Shepherd




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2024, a copy of the foregoing was filed electronically

and was served on counsel of record through the Court’s electronic case filing/case management

(ECF/CM) system.


                                                   /s/ Michael J. Edney
                                                   Michael J. Edney




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